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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )            CASE NO. 8:03CR482
       vs.                                      )
                                                )
DAYNA DEAL,                                     )
                                                )
                                                )                      ORDER
                      Defendant.

       This matter comes on to consider the government’s motion for reduction of sentence

pursuant to Rule 35(b) and request for hearing, Filing No. 95. Having considered the matter,

       IT IS ORDERED that:

       1.     The government’s request for hearing, Filing No. 95, is granted.

       2.     A hearing on the government’s motion for reduction of sentence pursuant to Rule
              35(b) has been set before the undersigned United States district judge on
              November 14, 2005 at 8:30 a.m. in Courtroom No. 2, Roman L. Hruska U.S.
              Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       3.     Counsel for the defendant, if previously appointed pursuant to the Criminal
              Justice Act, is reappointed to represent the defendant for purposes of the Rule
              35(b) motion. If retained, counsel for the defendant remains as counsel for the
              defendant until the Rule 35(b) motion is resolved or until given leave to withdraw.

       4.     The Defendant has waived her right to appear at the hearing.



       Dated this 7th day of November, 2005.

                                                    BY THE COURT:

                                                    s/ Laurie Smith Camp
                                                    United States District Judge
